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AO 245B (CASDRev. 08!l3) Judgment in a Criminal Case


                                         UNITED STATES DISTRICT COlTRT
                                            SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                 ... SEP 27 AM 10: 41
               UNITED STATES OF AMERICA                             JUDGMEN T IN A CRIMINAL CASE
                                    v.                              (For Offenses Committed On or After ~_N?" ~~~~~; fA no'",,,,,,,,,,,,,,
        EMMANUEL GUMATAOTAO FAROL (16)
                                                                       Case Number:         14CR3537-BAS!I'I!i~'...lI'~-'1.J,f-______~ .."'li:f:l'>
                                                                    PATRICK Q. HALL
                                                                    Defendant's Attorney
REGISTRATION NO.                    42995298
o
IX]    pleaded guilty to count(s)         ONE (1) OF THE INDICTMENT

    was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                         Count
Title & Section                      Nature of Offense                                                                  Number(s)
18USC 1962(d)                        CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS                                                  I
                                     THROUGH A PATTERN OF RACKETEERING ACTIVITY




     The defendant is sentenced as provided in pages 2 through                 4           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
       The defendant has been found not guilty on count(s)

 o     Count(s)                                               is          dismissed on the motion of the United States.

 IX]   Assessment: $100.00 WAIVED.



 IX]   No fine                  0 Forfeiture pursuant to order filed                                              , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.


                                                                    SEPTEMBER 26. 2016
                                                                    Date of Imposition ~fS~


                                                                    HON.~BA
                                                                    UNITED STATES DISTRICT JUDGE
                                                                                                  HANT




                                                                                                                       14CR3537-BAS
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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED.




        Sentence imposed pursuant to Title 8 USC Section 1326(b).
 D      The court makes the following recommendations to the Bureau of Prisons:




 D      The defendant is remanded to the custody of the United States Marshal.

 D      The defendant shall surrender to the United States Marshal for this district:
        D    at                         A.M.                  on
             ------------------
        D as notified by the United States Marshal.
                                                                   -------------------------------------
        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
        Prisons:
        D    on or before
             as notified by the United States Marshal.
        D    as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

        Defendant delivered on
                                 ___________________________ to _______________________________


 at                                       , with a certified copy of this judgment.
      ------------------------


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES u u ~.n..u~


                                                                                                       14CR3537-BAS
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    AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

    DEFENDANT:                   EMMANUEL GUMATAOTAO FAROL (16)                                                               Judgment - Page 3 of 4
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For ojfenses committed on or ajier September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o         substance abuse. (Check, ifapplicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 1690 I, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check ifapplicable.)
          The defendant shall participate in an approved program for domestic violence. (Check if'applicable.)

          lfthis judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I)  the detendant shall not leave the judicial district without the permission of the coun or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officcr;
     3)  the defendant shall answer truthfully all inquiries by the probation officcr and follow the instructions of the probation officer:
     4)  the defendant shall support his or her dependents and mcet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation. unless excused by the probation officer for schooling. training, or other acccptable
         reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess. use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances. except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used. distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony.
         unless granted permission to do so by thc probation officer:
     10) the detendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall pcnnit confiscation of any contraband
         observed in plain view of the probation officer;
     11) thc defendant shall noti:(y the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer:
     12) the defendant shall not entcr into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
          personal history or charactcristics and shall permit the probation officer to make such notifications and to con finn the defendant's compliance
          with such notification requirement.



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                               SPECIAL CONDITIONS OF SUPERVISION

   1. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.


   2. Submit your person, property, residence, abode, vehicle, papers, computer, social media accounts, cell
      phones, any other electronic communications or data storage devices or media, and effects to a search at
      any time, with or without a warrant, by any law enforcement or probation officer with reasonable
      suspicion concerning a violation of a condition of probation/supervised release or unlawful conduct, and
      otherwise in the lawful discharge of the officer's duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3). Failure
      to submit to a search may be grounds for revocation; you shall warn any other residents that the
      premises may be subject to searches pursuant to this condition

   3. Shall not knowingly associate with any known member, prospect, or associate of the Tycoons gang, or
      any other gang, or club with a history of criminal activity, unless given permission by the probation
      officer.


   4. Shall not knowingly wear or possess any paraphernalia, insignia, clothing, photographs, or any other
      materials associated with a gang, unless given permission by the probation officer.


   5. Shall not knowingly loiter, or be present in locations known to be areas where known gang members
      congregate, unless permission by the probation officer.


   6. Shall not knowingly associate with prostitutes or pimps and/or loiter in areas frequented by those engaged
       in prostitution and sex trafficking. (Exception for Ms. Johns).

   7. Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as
      directed by the probation officer. Allow for reciprocal release of information between the probation officer
      and the treatment provider. May be required to contribute to the costs of services rendered in an amount
      to be determined by the probation officer, based on ability to pay.




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